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                     UNITED STATES BANKRUPCTY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                              MIAMI, FLORIDA
                             www.flsb.uscourts.gov


In re:                                                   CASE NO. 18-14506-BKC-LMI
MIAMI BEVERLY, LLC                                       Chapter 11 (Lead Case)

                                                         Jointly Administered

1336 NW 60, LLC                                          CASE NO.      18-14509-BKC-LMI
REVEREND, LLC                                            CASE NO.      18-14510-BKC-LMI
13300 ALEXANDRIA DR HOLDINGS, LLC                        CASE NO.      18-14511-BKC-LMI
THE HOLDINGS AT CITY, LLC                                CASE NO.      18-14512-BKC-LMI

               Debtors.

_______________________________/


                        EMERGENCY
  MOTION FOR SUBSTANTIVE CONSOLIDATION OF DEBTOR ENTITIES
             AND AFFILIATED NON-DEBTOR ENTITY

       City of Miami, Florida, a Municipal Corporation (“Creditor”), as a creditor and

party in interest in the above-captioned Chapter 11 case, hereby files this emergency

motion for substantive consolidation of the debtor entities (Miami Beverly, LLC; 1336

NW 60, LLC; Reverend, LLC; 13300 Alexandria DR Holdings, LLC; and the Holdings

at City, LLC) and affiliated non-debtor entity (The Holdings at City II, LLC). The

emergency nature of this request is due to the impending release of the non-debtor entity

from the receivership that manages the debtor and non-debtor’s apartment buildings. As

more fully explained below, substantive consolidation of the entities is warranted because

(1) there is substantial identity between the entities to be consolidated and (2)

consolidation is necessary to avoid some harm or realize some benefit.




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                                     BACKGROUND

       A. The State Court Proceedings and Receivership.

       The debtor and non-debtor entities are limited liability companies organized under

the laws of the State of Florida, with their principal place of business in Englewood

Cliffs, New Jersey. They share the same physical address, manager (Denise Vaknin), and

legal and equitable beneficial interest holders (Abe and Denise Vaknin). (Ex. 1). The

entities own multi-unit apartment buildings in Miami, Florida. The debtor entities own

eight properties. The non-debtor entity owns one property.

       In October 2014, the creditor filed a complaint for injunctive relief and money

damages against the debtor and non-debtor entities in state court, on behalf of itself and

the citizens of the City of Miami. The creditor sought to enforce its City Code regarding

unpermitted work, unsafe conditions, and other violations. The creditor also sought to

protect the tenants residing within the entities’ properties. The debtor and non-debtor

entities kept their apartment buildings in deplorable conditions by, among other things,

allowing raw sewage to leak into occupied apartment units.

       The state court eventually entered a final judgment in favor of the creditor. In

connection with that judgment, the creditor sought the appointment of a receiver over the

debtor and non-debtor’s properties. The creditor maintained that the properties had been

plagued by years of gross mismanagement.

       After an evidentiary hearing, the state court determined that the properties were in

serious disrepair and threatened the health, safety, and welfare of the community. The

court entered several receivership orders and appointed a receiver. Among other things,




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the receivership orders authorized the receiver to manage the properties and correct the

code violations. (Ex. 2).

       During the three-year receivership of the nearly 150 units, the receiver has

substantially improved the properties, although one building remains uninhabitable due to

a roof collapse during the debtor’s ownership. The receiver has also increased the rent

roll from rental deposits of $3,150.00 for the period June 10 through June 30, 2015, to

rental deposits of $31,311.00 for the month of July 2015, to rental deposits of $48,281.00

for the month of February 2018, and to rental deposits of $57,108.16 for August 2018.

       Since June 2015, the receiver has maintained the debtor and non-debtor’s

properties by pooling the resources of all the properties to keep them afloat. The non-

debtor’s property is crucial to this function. It accounts for nearly 22% of total monthly

revenue. The other eight properties produce little net income or are cash flow negative.

       The receiver maintains two bank accounts. One account is used exclusively for

holding payments of advance rent paid by tenants at the time of lease execution for all

buildings comprising the receivership properties. Advance rent in this account is tracked

on a building-by-building basis. The other account is used as an operating account. Apart

from advance rent, all other funds and expenses pertaining to the receivership properties

come in to, and out of, this account. All transfers to, and out of, the account are tracked

on a building-by-building basis.

       B. This Bankruptcy Case.

       Earlier this year, the creditor sought to sell the properties at a sheriff’s sale due to

the entities failure to comply with the injunction and money judgement entered by the

state court. On the eve of the foreclosure sale (April 17, 2018), the debtor petitioned for




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chapter 11 bankruptcy in this Court. The receiver then filed an amended motion, under 11

U.S.C. § 543(d)(1), to excuse her from compliance with the turnover requested and

establish her powers and duties nunc pro tunc to the petition date. (D.E. #: 46). The

receiver also filed an exigent motion to maintain the pre-petition integrated case

management program. (D.E. #: 72).

       This Court eventually entered an agreed order granting, in part, the amended

motion under 11 U.S.C. § 543(d)(1) to excuse the receiver from compliance with the

turnover requirements and establish powers and duties of the receiver nunc pro tunc to

the petition date. (D.E. #: 78). This order allows the receiver to “act as a fiduciary and

exercise the same duties as she has been exercising since she was appointed as Receiver

in the Receivership Case under the terms and conditions of the order appointing her as

Receiver, except to the extent the Bankruptcy Code or this Order modifies such duties,

nunc pro tunc from April 17, 2018 (the ‘Petition Date’).” (D.E. #: 78, p. 2). However, the

order does “not apply to any Receivership Properties that are not owned by any of the

Debtors, and any such real properties shall not fall under the jurisdiction of this Court,

absent further Court order.” (D.E. #: 78, p. 6).1

       This Court also entered an interim order granting, in part, the exigent motion to

maintain the pre-petition integrated cash management program. (D.E. #: 85). This

included (I) authorizing continued use of existing cash management practices, bank

accounts, and business forms, (II) waiving investment and deposit requirements, and (III)

authorizing continuance of inter-property transactions nunc pro tunc to the petition date.




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 This motion essentially seeks to extend the reach of that order to the non-debtor entity,
who, based on the order’s terms, is excluded.


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This Court retained “jurisdiction with respect to all matters arising from or related to the

implementation, interpretation, or enforcement of this Order.” (D.E. #: 85, p. 6).

       C. The State Court’s Order Releasing the Non-Debtor Entity from the
          Receivership.

       Before this bankruptcy case, the debtor and non-debtor entities moved for release

of “complaint properties” from the receivership. After the debtor entities initiated this

bankruptcy case, the non-debtor entity filed an argument narrowing the motion to its

property alone. The creditor and the receiver filed responses opposing that argument.

Although the creditor acknowledged that there are no current code violations on the

property owned by the non-debtor entity, the creditor opposed the motion for three

essential reasons: (a) the non-debtor is jointly and severally liable for outstanding fees

owed to the receivership; (b) the ability (or lack thereof) of the receivership to function

without the non-debtor entity’s property; and (c) the interdependent nature of the debtor

entities and the non-debtor entity. (Ex. 3). Among other things, the receiver’s response

noted that the orders appointing the receiver rendered each entity jointly and severally

liable for payment of fees to her and her counsel, and that outstanding fees total

$14,070.00 for the receiver and $38,794.50 for her counsel. (Ex. 4).

       On September 19, 2018, the state court entered an order releasing the non-debtor

entity from the receivership. The court determined the following:

       1. Defendant’s, The Holdings at City II LLC, property located at 1558
          NW 1st Ave Miami, Florida 33136 is deemed compliant and no longer
          poses a risk to the public.

       2. Property located at 1558 NW 1st Ave Miami, Florida 33136 shall be
          released to Defendant, The Holdings at City II LLC, custody and
          control no later than fourteen (14) days from this Order.




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         3. Receiver shall submit an accounting to the Defendant, The Holdings at
            City II LLC, within seven (7) days of this order as to amounts
            satisfying all outstanding receivership fees and costs without setoff,
            including fees and costs of the Receiver’s counsel.

         4. Defendant, The Holdings at City II LLC shall pay any and all
            outstanding fees or costs due the Receivership related to oversight of
            the Civil Court’s Receivership created per Court Order dated June 10,
            2015 within ten (10) days of this Order.

         5. Receiver will file with the Court confirmation of payment on or before
            the fourteenth (14) day and effectuate release and turnover of custody
            and control of 1558 NW 1st Ave Miami, Florida 33136 to The
            Holdings at City II LLC.

(Ex. 5). This emergency motion for substantive consolidation followed.

                                           ANALYSIS

         As the debtor entities are already subject to this Court’s jurisdiction, and subject

to the receivership under this Court’s orders, the creditor requests substantive

consolidation of the debtor entities and the non-debtor entity. “[U]nder the principle of

substantive consolidation, the assets of two or more related entities may be pooled

together and the liabilities of these entities may then be satisfied from this common pool

of assets.” In re S & G Fin. Servs. of S. Fla., Inc., 451 B.R. 573, 579 (Bankr. S.D. Fla.

2011) (citing Eastgroup Properties v. Southern Motel Ass’n, Ltd., 935 F.2d 245, 248

(11th Cir. 1991)). Although no provision in the Bankruptcy code specifically authorizes

substantive consolidation of separate entities into a single bankruptcy case, bankruptcy

courts have the authority to substantively consolidate bankruptcy cases based on their

general equitable powers. Eastgroup Properties, 935 F.2d 245 at 248; In re S & G Fin.

Servs., 451 B.R. at 579; see also 11 U.S.C. § 105.2



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    Section 105(a) of the Bankruptcy Code provides:



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       In this jurisdiction, the party moving for substantive consolidation must satisfy a

two-prong test to establish a prima facie case for substantive consolidation: (1) the

movant must show that there is substantial identity between the entities to be

consolidated; and (2) that consolidation is necessary to avoid some harm or realize some

benefit. Eastgroup Properties, 935 F.2d at 249; In re S & G Fin. Servs., 451 B.R. at 583.

“Piercing the corporate veil under an alter-ego theory is not a prerequisite to the

utilization of the bankruptcy law remedy of substantive consolidation.” Id. at 583. To

determine whether the party seeking consolidation has met its initial burden, bankruptcy

courts typically look to seven factors:

       a)     The degree of difficulty in segregating and ascertaining individual
              assets and liability;

       b)     The presence or absence of consolidated financial statements;

       c)     The profitability of consolidation at a single physical location;

       d)     The commingling of assets and business functions;

       e)     The unity of interests and ownership between the various corporate
              entities;

       f)     The existence of parent and inter-corporate guarantees on loans; and

       g)     The transfer of assets without formal observance of corporate
              formalities.

Id. at 584 (citing In re Vecco Constr. Indus., 4 B.R. 407, 410 (Bankr. E.D. Va. 1980)).




       The court may issue any order, process, or judgment that is necessary or
       appropriate to carry out the provisions of this title. No provision of this
       title providing for the raising of an issue by a party in interest shall be
       construed to preclude the court from, sua sponte, taking any action or
       making any determination necessary or appropriate to enforce or
       implement court orders or rules, or to prevent an abuse of process.


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       This list is not exclusive. Eastgroup Properties, 935 F.2d at 250; In re S & G Fin.

Servs., 451 B.R. at 584. And no single factor is likely to be “determinative of the court’s

inquiry.” Eastgroup Properties, 935 F.2d at 250. “In sum, ‘the remedy of substantive

consolidation is appropriate . . . when it has been shown that the possibility of economic

prejudice which would result with continuing corporate separateness outweighed the

minimal prejudice that substantive consolidation might cause.’” In re S & G Fin. Servs.,

451 B.R. at 584 (quoting In re Murray Indus., 119 B.R. 820, 829 (Bankr. M.D. Fla.

1990)).3

       A. There is substantial identity between the entities to be consolidated.

       Regarding the first prong, there is a substantial identity between the debtor

entities and the affiliated non-debtor entity. The debtor and non-debtor entities are all

limited liability companies organized under the laws of the State of Florida, with their

principal place of business in Englewood Cliffs, New Jersey. They share the same

physical address, manager (Denise Vaknin), and legal and equitable beneficial interest

holders (Abe and Denise Vaknin). One of their legal and equitable interest holders is the

manager. The entities also exist for the same purpose: owning and operating multi-unit

apartment buildings in Miami, Florida. Thus, there is a unity of interests and ownership.

       As the injunction proceedings in state court establish, the debtor entities and the

non-debtor entity have long been treated as a whole, not in part or individually. The



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  “[D]ue to the nature of substantive consolidation of debtor and non-debtor entities,
notice must be provided to all creditors, and such creditors must have an opportunity to
be heard.” In re S & G Fin. Servs., 451 B.R. at 585. Once the movant has made a prima
facie case for substantive consolidation, the burden then shifts to an objecting creditor “to
show that (1) it has relied on the separate credit of one of the entities to be consolidated;
and (2) it will be prejudiced by substantive consolidation.” Eastgroup Properties, 935
F.2d at 249.


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receivership demonstrates as much. For over three years, the receiver has maintained the

debtor and non-debtor’s properties by pooling the resources of all the properties to keep

them afloat. The receiver maintains two bank accounts—one is used exclusively for

holding payments of advance rent and the other is used as an operating account. In sum,

the entities operate under an integrated case management program. Moreover, the non-

debtor entity has never filed any claim in this Court against the debtor entities based on

its funds being used in the receivership. In other words, the entities have long since

operated, and creditors have long since dealt with the entities, as a single, integrated

economic unit.

        If there is any doubt on this point, it should be resolved with the knowledge that

the receivership is at serious risk without the non-debtor’s property. The non-debtor’s

property accounts for nearly 22% of total monthly revenue. The other eight properties

produce little net income or are cash flow negative. Simply put, the non-debtor’s property

acts as the heart of the receivership—and no body can function without a heart. These

circumstances demonstrate a degree of difficulty in segregating and ascertaining

individual assets and liability, the commingling of assets and business functions, among

other factors relevant to this inquiry.

        Because several of the Vecco factors exist here, the creditor has met the first

prong of the analysis—substantial identity between the entities to be consolidated. See In

re S & G Fin. Servs., 451 B.R. at 584 (debtor and non-debtor entities shared a single

officer, director and manager, were 100% owned by same individual, comingled assets

and business functions, and freely transferred assets between each other without

observing corporate formalities).




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       B. Consolidation is necessary to avoid some harm or realize some benefit.

       Turning to the second prong, consolidation is necessary to avoid some harm or

realize some benefit. The receivership, as previously mentioned, may not function

without the non-debtor’s property. And this receivership has produced great results.

During the three-year receivership of the nearly 150 units, the receiver has substantially

improved the properties—which were originally found in deplorable conditions,

including the presence of raw sewage leaking into occupied apartment units. The receiver

has also increased the rent roll from rental deposits of $3,150.00 for the period June 10

through June 30, 2015, to rental deposits of $31,311.00 for the month of July 2015, to

rental deposits of $48,281.00 for the month of February 2018, and to rental deposits of

$57,108.16 for August 2018. The receiver accomplished these impressive results by

pooling the resources of all the properties. The non-debtor’s property was crucial to this

operation. As already mentioned, it accounts for nearly 22% of total monthly revenue.

The other eight properties produce little net income or are cash flow negative. Further,

the entities have not only long operated as a single, integrated economic unit; creditors

have also dealt with them as such.

       Thus, the possibility of economic prejudice which would result with continuing

corporate separateness outweighs the minimal prejudice that substantive consolidation

might cause. See In re S & G Fin. Servs., 451 B.R. at 584-85 (“[T]here is certainly a

benefit in allowing creditors to reach assets that would otherwise be unavailable to them,

but have an arguable right to access. [T]he Trustee makes a plausible case for showing

that the benefit which would be conferred upon creditors is greater than the potential




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harm to the non-debtor entities which are alleged to be nothing more than sham entities

created to improperly shield the Debtor’s assets from creditors.”).

                                       CONCLUSION

       For these reasons, the creditor respectfully requests entry of an order for

substantive consolidation of the debtor entities and the affiliated non-debtor entity.


                                                      City of Miami, a Municipal Corporation
                                                      Creditor
                                                      444 SW 2 Avenue, Suite 945
                                                      Miami, Florida 33130
                                                      Telephone: 305-416-1800
                                                      Facsimile: 305-416-1801

                                                      By: __/s/ Barnaby Min_________
                                                        Barnaby Min, Esq.
                                                        Deputy City Attorney
                                                        Email: bmin@miamigov.com
                                                        Email: rsdooley@miamigov.com


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been furnished to those
individuals listed to receive e-mail notice/service for this case, via the Notice of
Electronic Filing or US Mail this 25th day of September 2018.

Abraham Vaknin*
c/o Gary M. Murphree, Esq.
7385 Southwest 87 Avenue #100
Miami, FL 33173

Linda Leali, Custodian c/o Thomas M. Messana
Messana, P.A.
401 East Las Olas Boulevard, Suite 1400
Fort Lauderdale, Florida 33301

Gaynisha Williams, Nathanael Mars, Lakeisha Chatfield,
Tamara Chatfield, Shannon Daniels* c/o Rebecca Parsons Schram, Esq.
Legal Services of Greater Miami, Inc.
4343 West Flagler Street, Suite 100
Miami, FL 33134



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Miami Development & Holdings, LLC* c/o Michael S. Hoffman, Esq.
Hoffman, Larin & Agnetti, P.A.
909 North Miami Beach Boulevard, #201 North Miami, FL 33162

Gaynisha Williams, Nathanael Mars, Lakeisha Chatfield,
Tamara Chatfield, Shannon Daniels* c/o Joanne Gelfand, Esq.
Luis Casas, Esq.
Akerman LLP
Three Brickell City Centre
98 Southeast Seventh Street, Suite 1100
Miami, FL 33131

Miami Beverly, LLC* 1336 NW 60, LLC
Reverend, LLC
13300 Alexandria Dr. Holdings, LLC The Holdings at City, LLC
c/o Ido J. Alexander, Esq. and Zach B. Shelomith, Esq. Leiderman Shelomith Alexander
2699 Stirling Road, C-401
Fort Lauderdale, FL 33312-6598

Miami-Dade County Property Tax Collector c/o Alexis Gonzalez
200 NW 2nd Avenue Suite 430
Miami, FL 33128-1733

Office of the U.S. Trustee*
51 Southwest 1st Avenue Suite 1204
Miami, FL 33130-1614

Phoenix Realtors, LLC c/o Andres Parra
6625 Miami Lakes Drive Suite 382
Miami, FL 33014

The Holdings at City II, LLC
99 Roberts Road
Englewood Cliffs, NJ 07632

The Holdings at City II, LLC c/o its Registered Agent Norman Moodie
10410 SW 231 Terrace
Miami, FL 33190

The Holdings at City II, LLC c/o Denise Vaknin,
MGRM 99 Roberts Road
Englewood Cliffs, NJ 07632




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